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                              UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF SOUTH CAROLINA

IN RE:                                          CASE NO: 14-00748-JW
                                                CHAPTER 13
JESSICA BETH DESANTIS
                                                TRUSTEE'S NOTICE TO DEBTOR OF PLAN
9029 THOMASVILLE DRIVE                          COMPLETION AND NOTIFICATION OF NEED TO FILE
WINTER HAVEN, FL 33884                          REQUEST FOR DISCHARGE
                               Debtor
TO: Debtor and attorney for the debtor

Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
you may wish to consult one).

The chapter 13 trustee has filed a Report of Completion of Plan Payments with the Court
indicating that payments due to the Trustee under the plan in the above case have been
completed.

YOU ARE HEREBY NOTIFIED that, pursuant to SC LBR 3015-5, IF YOU BELIEVE YOU
ARE ENTITLED TO A DISCHARGE, you must prepare, sign and file, within twenty-eight (28)
days of the date of this notice, a Certification of Plan Completion and Request for Discharge and
Notice (copies of which are attached) as they are required before a discharge can be entered .
Your failure to file the required documents timely could result in the closing of the case without a
discharge.

The Certification indicates that you understand and agree to the following:

1) You agree that there has been no Court order which would deny you the right to a
discharge.

2) All payments due under the plan have been completed, including all payments required
under 11 U.S.C. § 1322(b)(5).

If you are not certain, please consult an attorney for advice.

3) All amounts payable for domestic support obligations due on or before the date of your
certification (including any amounts due before the filing of the bankruptcy petition to the
extent provided for by the plan) have been paid. Your certification must state the current
name and address of each domestic support obligation payee.

The term "domestic support obligation" means a debt "in the nature of alimony, maintenance, or
support (including assistance provided by a governmental unit) of such spouse, former spouse, or
child of the debtor or such child's parent, without regard to whether such debt is expressly
designated" that accrues before, on or after the date of the order for relief in a case under Title
11, including interest that accrues on that debt as provided under applicable nonbankruptcy law
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notwithstanding any other provision of Title 11, that is owed to or recoverable by (i) a spouse,
former spouse, or child of the debor or such child's parent, legal guardian, or responsible relative;
or (ii) a governmental unit. 11 U.S.C. § 101(14A)

4) The provisions of 11 U.S.C. § 522(q)(1) are not applicable to your case and there are no
proceedings pending against you of the kind described in 11 U.S.C. § 522(q)(1)(A) or 522(q)
(1)(B).

11 U.S.C. § 522(q) appplies:

if "...the debtor has been convicted of a felony (as defined in section 3156 of title 18), which
under the circumstances, demonstrates that the filing of the case was an abuse of the provisions
of this title (Title 11);"

11 U.S.C. § 522(q) also applies:

if "the debtor owes a debt arising from--(i) any violation of the Federal securities laws (as
defined in section 3(a)(47) of the Securities Exchange Act of 1934), any State securities laws, or
any regulation or order issued under Federal securities laws or State securities laws ; (ii) fraud,
deceit, or manipulation in a fiduciary capacity or in connection with the purchase or sale of any
security registered under section 12 or 15(d) of the Securities Exchange Act of 1934 or under
section 6 of the Securities Act of 1933; (iii) any civil remedy under section 1964 of title 18; or
(iv) any criminal act, intentional tort, or willful or reckless misconduct that caused serious
physical injury or death to another individual in the preceding 5 years."

5) You have completed an instructional course concerning personal financial management
   as described in 11 U.S.C. § 111.

The debtor is not entitled to a discharge unless after filing a petition the debtor completes an
instructional course concerning personal financial management. 11 U.S.C. § 1328(g)(1). This is
in addition to the budget and credit counseling session you undertook before the bankruptcy case
was filed.

Your signature on the certification is under penalty of perjury.

Attachments: Exhibit A & B to SC LBR 3015-5
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                                     UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF SOUTH CAROLINA

IN RE:                                                    CASE NO: 14-00748-JW
                                                          CHAPTER 13
JESSICA BETH DESANTIS
                                                          CERTIFICATION OF PLAN COMPLETION AND
9029 THOMASVILLE DRIVE                                    REQUEST FOR A DISCHARGE
WINTER HAVEN, FL 33884
                                    Debtor
The above-captioned debtor certifies under penalty of perjury that the following are true and correct:

1) There has been no court order that would deny the debtor the right to a discharge .

2)    All payments due under the plan have been completed , including all payments required under 11 U.S.C. § 1322
      (b)(5).

3) Pursuant to 11 U.S.C. § 1328(a), all amounts payable for domestic support obligations due on or before the date
   set forth below (including any amounts due before the filing of the bankruptcy petition to the extent provided
   for by the plan) have been paid to:

      Name:         ___________________________________
      Address:     ___________________________________
                     ___________________________________
      (repeat for multiple payees)

      The debtor's employer (including address):

      Name:        ___________________________________
      Address:    ___________________________________
                    ___________________________________

      Claims that were not discharged pursuant to 11 U.S.C. § 523(a)(2) or (4): ____________________________
      ___________________________________________________________________________________

      Debts that were reaffirmed under 11 U.S.C. § 524(c): ___________________________________________
      ___________________________________________________________________________________

4) The provisions of 11 U.S.C. § 522(q)(1) are not applicable to this case under 11 U.S.C. § 1328(h) and there are
   no proceedings pending against the debtor of the kind described in 11 U.S.C. § 522(q)(1)(A) or 522(q)(1)(B).

5) The debtor has not received a discharge in a case filed under 7 , 11, or 12 of this title during the 4-year period
   preceding the date of the order for relief under this chapter , or in a case filed under chapter 13 of this title during
   the 2-year period preceding the date of such order .

6) The debtor has either sought an exemption from or completed an instruction course concerning personal
   financial management described in 11 U.S.C. § 111 and, if completed, has either previously filed Official Form
   423 so certifying with the Court, or such certification and accompanying documents are being
   contemporaneously filed herewith .

The undersigned requests that a discharge be granted in accordance with 11 U.S.C. § 1328.

Date:____________________________________

Debtor ___________________________________                   Debtor ___________________________________
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                                     UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF SOUTH CAROLINA
IN RE:                                                     CASE NO: 14-00748-JW
                                                           CHAPTER 13
JESSICA BETH DESANTIS

9029 THOMASVILLE DRIVE                                     NOTICE OF CERTIFICATION OF PLAN COMPLETION
WINTER HAVEN, FL 33884                                     AND REQUEST FOR A DISCHARGE
                                      Debtor
To the Trustee and to all creditors and parties in interest:

YOU ARE HEREBY NOTIFIED that the above-captioned debtor has requested a discharge pursuant to 11 U.S.C.
§ 1328(a) in the above case. A copy of the Certification of Plan Completion and Request for Discharge is attached .
Your rights may be affected. You should read these papers carefully and discuss them with your attorney , if
you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one).

If you have any reason to believe that the provisions of 11 U.S.C. § 522(q)(1) apply to this debtor or that there is
pending any proceeding in which the debtor may be found guilty of a felony of the kind described in 11 U.S.C. §
522(q)(1)(A) or liable for a debt of the kind described in 11 U.S.C. § 522(q)(1)(B) or that the debtor is otherwise not
entitled to a discharge, then you or your attorney must:

    1.   File with the Court a written response to the Certification , specifying the basis for your response , no later
         than fourteen (14) days from the date of service of this Notice , and mail a copy to:

         (insert debtor's attorney name and address ) and

         (insert debtor's name and address); and

    2.   Attend the hearing to be held as indicated below .

PLEASE TAKE FURTHER NOTICE that no hearing will be held on the Request for Discharge unless a response is
timely filed and served, in which case, the Court will conduct a hearing on ___________________, 2______, at
_____.m., at __________________(Court street address and city), South Carolina. No further notice of this hearing
will be given.

IF YOU OR YOUR ATTORNEY DO NOT TAKE THESE STEPS, THE COURT MAY ENTER AN ORDER
GRANTING THE RELIEF REQUESTED.

Date of Service: ______________________________                        ______________________________
                                                                             Signature of Attorney/ Pro Se Debtor
                                                                             ______________________________
                                                                             Typed Printed Name
                                                                             ______________________________
                                                                             Address/Telephone/Facsimilie/ E-mail
                                                                             ______________________________
                                                                             District Court I .D. Number
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                                    CERTIFICATE OF SERVICE

I did this date serve the attached document(s) on the parties listed below by placing the same in
the United States mail with proper postage affixed thereto and addressed as follows :

JESSICA BETH DESANTIS                             Craig Joseph Poff Esq
9029 THOMASVILLE DRIVE                            704 Prince Street
WINTER HAVEN, FL 33884                            BEAUFORT, SC 29902-0000




Date: April 01, 2019
                                                       /s/Melissa Milligan
                                                       Office of the Ch. 13 Trustee
                                                       P.O. Box 997
                                                       Mt. Pleasant, SC 29465-0997
                                                       Phone: (843) 388-9844
                                                       Fax:    (843) 388-9877
                                                       Email: 13office@charleston13.com
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Craig Joseph Poff Esq
704 Prince Street
BEAUFORT, SC 29902-0000
